         Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 1 of 17 PageID #:259



                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

    RICHARD MOLINARI, on behalf of himself
    and a class of similarly situated                  18-cv-01526
    individuals, Plaintiff,

    v.                                                 Honorable Judge Sara L. Ellis

    FINANCIAL ASSET MANAGEMENT
    SYSTEMS, INC., Defendant.

                          PLAINTIFF’S MEMORANDUM OF LAW
                   IN SUPPORT OF MOTION FOR CLASS CERTIFICATION1

            Plaintiff RICHARD MOLINARI, by and through his attorney, James C. Vlahakis

submits this Memorandum of Law in Support of his Motion for Class Certification:

I.         Introduction

           Plaintiff, Richard Molinari (“Plaintiff”), brings this motion to certify putative class

claims that were filed pursuant to the Telephone Consumer Protection Act, 47 U.S.C. §

227, et seq. ( “TCPA”) and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et

seq. (“FDCPA”). Plaintiff is a “person” as defined by 47 U.S.C. § 153(39). FINANCIAL

ASSET MANAGEMENT SYSTEMS, INC. (“FAMS”) is admitted a debt collector as defined

by § 1692a(6) of the FDCPA because it regularly collects defaulted debts through letters

and telephone calls. Dkt. 6, FAMS’s Answer, ¶ 9. Section 227(b)(1)(A)(iii) of the TCPA

prohibits the use of prerecorded voices messages absent the consent of the recipient.

           Plaintiff did not consent to receiving a single, let alone at least ten (10) pre-

recorded voice messages identical to the below transcribed pre-recorded message:

                  Hello, this is FAMS, a debt collector. This is an attempt to collect a
                  debt. Our records indicate that we have not yet received one or more
                  payments necessary to continue the reduced interest program. We
                  are happy to assist with any questions you may have in this

1
 Plaintiff has filed a motion for leave to file this Memorandum instanter, nunc pro tunc. Dkt. 51.
Defendant does not opposed the relief sought. In agreement with FAMS, Plaintiff will file Exhibit
D after FAMS undertakes confidentiality designations.


                                                  1
      Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 2 of 17 PageID #:259



               process. Please call us at 866-330-2703. Again that number is 866-
               330-2703. Thank you.

        Worse yet, in violation the TCPA, each pre-recorded message failed to identify its

full legal name. See, e.g., Sengenberger v. Credit Control Services, Inc. 2010 WL 1791270

(N.D. Ill. May 5, 2010) (holding that collector’s use of “Credit Collection Services” as

opposed to “Credit Control Services, Inc.” violated relying on 47 U.S.C. § 227(b)(2) and

47 C.F.R. 64.1200(b)(1)). FAMS also violated Sections 1692b(3), 1692c(b), 1692d,

1692d(5), 1692d(6) and 1692f of the FDCPA by repeatedly calling his cellular number

and transmitting pre-recorded message for the purpose of collecting a debt owed to

another person. Consistent with FAMS’s policies and practices, FAMS treated

thousands of putative class members the same way in violation of the TCPA and FDCPA.

II.     The Elements of Federal Rule of Civil Procedure 23

         FRCP 23(a)(1)-(4) provides that a court may certify a class of individual were: “(1)

the class is so numerous that joinder of all members is impracticable; (2) there are

questions of law or fact common to the class; (3) the claims or defenses of the

representative parties are typical of the claims or defenses of the class; and (4) the

representative parties will fairly and adequately protect the interests of the class.”

         FRCP 1 provides that the Federal Rules of Civil Procedure “should be construed,

administered, and employed by the court and the parties to secure the just, speedy, and

inexpensive determination of every action and proceeding.” In evaluating whether class

certification is appropriate, a "court accepts all well-pled allegations made in support of

certification as true." Arenson v. Whitehall Convalescent & Nursing Home, 164 F.R.D.

659, 661 (N.D. Ill. 1996). A court must conduct a rigorous analysis and determine by

the preponderance of the evidence that the putative class meets the criteria set forth by

Rule 23(a). Messner v. Northshore Univ. HealthSys., 669 F.3d 802, 811 (7th Cir. 2012),




                                              2
       Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 3 of 17 PageID #:259



A "court maintains broad discretion in determining whether certification is appropriate."

Retired Chicago Police Ass'n v. City of Chicago, 7 F.3d, 584, 596 (7th Cir. 1993).

          In addition to satisfying the elements of FRCP 23(a), a class representative must

satisfy Rule 23(b). FRCP 23(b)(3) provides in relevant part that “a class action may be

maintained . . . if: . . . (3) the court finds that the questions of law or fact common to

class members predominate over any questions affecting only individual members, and

that a class action is superior to other available methods for fairly and efficiently

adjudicating the controversy.” Certification is proper pursuant to FRCP 23(b)(3).

          Finally, although not required by the text of FRCP 23, a "plaintiff must show . . .

that the [proposed] class is indeed identifiable as a class." Oshana v. Coca-Cola Co., 472

F.3d 506, 513 (7th Cir. 2006). The proposed classes are ascertainable. See Section VII.

III.     Summary of Relevant Undisputed Facts

          Plaintiff did not owe the Subject Debt. Exhibit A, Pl.’s depo., p. 23, lines 1015,

p. 24, line 13, p. 95, lines 8-9. The Subject Debt is a “debt” as defined by FDCPA

§1692a(5) as it arises out of a student loan transaction that was incurred by Plaintiff’s

wife for her personal use. Complaint, ¶ 11; Exhibit C, FAMS’s Response to Pl’s First Set

of Requests to Admit, No. 1. FAMS touts that it uses a “specialized, criteria-based skip

trace waterfall process optimizes new telephone and address information on a daily

basis so our team of collectors can contact your accounts expeditiously.” See

http://fams.net/skip-and-collect/ (last accessed on October 9, 2019). Dkt. 6, Ans. to

Compl, ¶13. Translation: FAMS skip traces debtors and does not do it well – as

evidenced by Plaintiff’s circumstances which a typical of the class he seeks to represent.

          FAMS called Plaintiff’s cellular number over a hundred times using its LiveVox

HCI phone system in attempting to contact Plaintiff’s wife about a student loan. Exhibit

B, FAMS’s Response Interrogatory No. 10. See also, Exhibit C, FAMS’s Response to Pl’s



                                               3
   Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 4 of 17 PageID #:259



First Set of Requests to Admit, Nos. 9-10, 27. FAMS will not and cannot argue that it

Plaintiff’s prior express consent to place these autodialed and pre-recorded calls to

Plaintiff’s cellular phone. In the absence of consent, FAMS’s conduct in leaving pre-

recorded messages on the voicemail of Plaintiff’s cellular number appears to be a blatant

violation of § 227(b)(1)(A) of the TCPA.

       It is not clear why FAMS called, let alone left pre-recorded messages on Plaintiff’s

cellular telephone number, which it admitted obtained as a result of a skip-trace. FAM

skip-traced Plaintiff’s telephone number and his number was never provided to FAM by

Plaintiff or his wife. Exhibit C, FAMS’s Response to Pl’s Requests to Admit, Nos. 2-8.

Plaintiff’s outgoing voicemail message greeting utilizes Plaintiff’s first name, Richard (Ex.

A, Pl.’s depo., p. 25, lines 7-14) and explained to FAMS that the person using Plaintiff’s

cellular phone number is not the person from whom FAMS was attempting to reach to

collect a debt. Plaintiff never consented to any of the calls placed by FAMS to his cellular

phone. Notwithstanding the fact that Plaintiff was not the party FAMS was seeking to

collect the debt from and the fact that FAMS did not have consent to place calls to

Plaintiff’s cellular phone, FAMS made well over 100 LiveVox HCI based calls to Plaintiff’s

cellular phone number. And despite never confirming whether Plaintiff was the debtor

in question, FAMS utilized VoApps, Inc. (“VoApps”), to transmit following pre-recorded

voice messages into the voice-mail box associated with Plaintiff’s cellular phone number.

VoApps’ records show that it sent Plaintiff at least ten identical pre-recorded messages.

       As alleged in the Complaint, FAMS caused the above pre-recorded voice message

to be placed into the voice-mail box associated with Plaintiff’s cellular phone number on

November 16, 2017, November 24, 2017, and December 4, 2017, in addition to seven

(7) other dates, for a total of at least ten (10) illegal pre-recorded voicemails. Ex. A, Pl.’s

depo., p. 36, lines, 13-14, p. 106, lines 2-3; Exhibit D, FAMS’s 30(b)(6) deposition, p.214,



                                              4
   Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 5 of 17 PageID #:259



lines 1-5. To recap, FAMS violated Section (b)(1)(A)(iii) of the TCPA by calling and/or

otherwise causing “artificial or prerecorded voice” messages to be placed into the

voicemail of Plaintiff’s cellular telephone number - without his consent.

      FAMS’s sole defense to Plaintiff’s pre-recorded TCPA class-based claim in Count

IV is that “Defendant did not make a call to a telephone number assigned to a . . . cellular

telephone service . . . for which the called party is charged for the call.” Exhibit B,

FAMS’s Response to Pl’s Interrogatory No. 22. Two courts have held otherwise. Saunders

v. Dyck O'Neal, Inc., 319 F. Supp. 3d 907, 912 (W.D. Mi. 2018)(where a collector was

unable to argue that a “VoApps” based “voice drop” did not violate TCPA, the identical

system utilized by FAMS); Schaevitz v. Braman Hyundai, Inc., 2019 U.S. Dist. LEXIS

48906, *11-*16 (S.D. Fla. March 25, 2019)(“construction of the TCPA in which a

"ringless" voicemail is a "call" is consistent with Congress's purpose in enacting the

TCPA.”). Plaintiff’s other TCPA claim-based in Count II asserts that FAMS used an

automated dialing system (LiveVox HCI) to call his cellular phone without his consent.

Plaintiff plausibly testified that FAMS used an ATDS to call him because FAMS called

Plaintiff’s cellular phone around the same time FAMS called Plaintiff’s mother’s land-

based telephone number. Exhibit A, Pl’s dep., p. 54, lines 14-24, p. 97, lines 5-13 (“They

would literally call [my mother] right after me”), lines 15-16 (“So they would call my

phone, not get ahold of me and go right to there [call my Mother’s phone].”).

      To the extent FAMS wishes to argue that LiveVox HCI is not “automatic telephone

dialing system” is defined by Section 227(a)(1) of the TCPA, this argument ignores the

fact that FAMS’s blind reliance on its LiveVox HCI calling system caused it to knowingly

violate aspects of the FDCPA which serve to protect citizens from telephone harassment.

For example, Counts V and VI identify numerous violations of the FDCPA. For example,

Section 1692b(3) mandates that a debt collector may “not communicate with any



                                             5
      Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 6 of 17 PageID #:259



such person more than once unless requested to do so by such person or unless

the debt collector reasonably believes that the earlier response of such person is

erroneous or incomplete and that such person now has correct or complete location

information”.    Section1692c(b)   provides       that   “without   the   prior   consent   of

the consumer given directly to the debt collector . . . a debt collector may not

communicate, in connection with the collection of any debt, with any person other than

the consumer”. Section1692d states that a “collector may not engage in any conduct

the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt”. In particular, § 1692d(5) makes it unlawful to

“caus[e] a telephone to ring . . . repeatedly or continuously with intent to annoy, abuse,

or harass any person at the called number” and § 1692d(6) specifically precludes “the

placement of calls without meaningful disclosure of the caller’s identify”. Section 1692d

Further, FAM’s use of “voice drop” technology to circumvent the TCPA (and failing to

identify its full name) constitutes the “use [of] unfair or unconscionable means to collect

or attempt to collect any debt” in violation of §1692f of the FDCPA.

IV.     Plaintiff Satisfies the Elements of FRCP 23(a)

         A. Plaintiff Has Demonstrated Numerosity

        "[J]oinder is considered impractical when a class numbers at least forty

members." Walker v. Calusa Investments, LLC, 244 F.R.D. 502, 506 (S.D. Ind. 2007).

FAMS has produced spreadsheets of cellular telephone numbers that it obtained from

LexisNexis, a third-party, skip trace vendor. FAMS has represented that it obtained the

telephone numbers in question to find updated telephone numbers that it presumes




                                              6
    Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 7 of 17 PageID #:259



belong debtors without confirming that to be the case and that it will presume are the

numbers of debtors and will continue call or use VoApps, Inc., until told otherwise.2



       Discovery has identified at least 13,115 unique, skip-traced cellular numbers

assigned to area codes for the Northern District of Illinois (area code 847, 224, 773, 312,

630, 331, 815, 779 and 708). Other spreadsheets show that VoApps successfully

transmit pre-recorded messages to these skip-traced cellular numbers.3 Accordingly,

Plaintiff satisfies the element of numerosity.4

       B. Commonality is Satisfied



       2
         Exhibit D, FAMS’s 30(b)(6) deposition, pp. 23-37, 58, 63, 72, 94, 98, lines 21-24,113,
lines 17-22, 114, lines 3-7, 126, lines 16-24, p. 127, lines 1-6 (“[f]or LexisNexis, all we purchase
are the phone numbers for the person we're actually trying to call, for the debtor”; “On a lot of
the student loan product, the information and the accounts are so old, and they have been
through some other hands that, yes, that's -- that's one that we're more likely to try getting some
information --through the LexisNexis.”; “Q. Okay. And then the next step might be -- that it's an
automated process by which you utilize LexisNexis to obtain, potentially, updated telephone
numbers for the debtors in that large batch? A. Correct”; “Q. If we now wanted to figure out
where and when you obtained the four numbers that we can see on page 258, what tab would
you take me to, to see that? A. Well, for three of them, the three that say "Tier 1," we would go
to the LexisNexis tab.”); “What did FAMS do to determine, on an individualized basis, [to
determine] whether those numbers that they had obtained from LexisNexis, in fact, belonged to
the consumer?”; “A. "Called them" is the short answer.”; is it FAMS' policy to continue to utilize
VoApps to drop those messages until FAMS is told to stop calling that -- to stop using VoApps
to drop that message? THE WITNESS: Correct.”).

3
  FAMS has admitted to obtaining thousands of telephone number LexisNexis where LexisNexis
performed mass, or “batch” based skip-trace searches for telephone numbers associated with
debtors in the form of a file that passed from LexisNexis over a server to FAMS and uploaded to
individual accounts as part of an automated process. Exhibit E, p. 184, lines 18-25, p. 185, p.
186, lines 1-12, p. 187, lines 8-16, 188, line, 18, p. 189, lines 8-16.

4
 As Plaintiff explained to this Court during the parties’ last court appearance, while discovery
had closed, Defendant had refused to produce certain class based discovery answers. See, e.g.,
Exhibit B, FAMS’s Response to Pl’s First Set of Interrogatories, Rog. No. 13 (seeking “the total
number of incidents from November 1, 2013 to the present where YOUR records show that a
person answering a phone call placed by told an employee and/or agent that he/she was not the
person YOU were trying to reach” and “the time, date and the total number of reports of wrong
number and/or wrong person calls”); Rog. No.14 (seeking “[w]ith regard to the time, date and
total number of wrong number and/or wrong person calls that YOU list in response to . . .
Interrogatory [No. 13], identify the telephone number that was called where the person answering
the phone said that YOU were calling the wrong person or wrong number”).



                                                 7
   Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 8 of 17 PageID #:259



       The commonality requirement focuses on whether "there are questions of law or

fact common to the class." FRCP 23(a)(2). "A common nucleus of operative fact is usually

enough to satisfy the commonality requirement of Rule 23(a)(2)." Keele v. Wexler, 149

F.3d 589, 594 (7th Cir. 1998). Commonality requires a "common contention which is of

such a nature that it is capable of classwide resolution — which means that

determination of its truth or falsity will resolve the issue that is central to . . . each one

of the claims in one stroke." Wal-Mart Stores, Inc. v. Dukes, 131 S.Ct. 2541, 2551 (2011).

       Courts have found commonality where defendants have used pre-recorded

messages. Birchmeier Caribbean Cruise Line, Inc., 302 F.R.D. 240, 251 (N.D. 2014)

(finding commonality where class "received the same calls offering a free cruise . . . made

by or for one of the defendants, using the same artificial or prerecorded voice

technology"); Bakov v. Consol. World Travel, Inc., 2019 U.S. Dist. LEXIS 46510, *49 (N.D.

Ill. March 21, 2019)(“commonality exists on the question of whether using soundboard

technology to deliver prerecorded messages that requires human involvement . . .

violates the TCPA.”)(citing See Braver v. Northstar Alarm Servs., LLC, 329 F.R.D. 320

(W.D. Okla. Oct. 15, 2018)). See also Gehrich v. Chase Bank USA, N.A., 316 F.R.D. 215,

224 (N.D. Ill. 2016) ("[e]ach class member suffered roughly the same injury: receipt of

at least one phone call . . . to her cell phone").

       The crux of Plaintiff’s TCPA claims are simple. FAMS has the burden of proof on

the issue of whether it had Plaintiff’s consent. 47 U.S.C. § 227(b)(1)(A). Plaintiff is the

sole user of his cellular number, (708)288-8132. Plaintiff’s wife did not provide this

number to FAMS or during the life of her loan. FAMS obtained his by way of a skip-

trace service performed by Lexis-Nexis to locate numbers associated with an alleged

debtor (who happened to be his wife). Although FAMS knew that Plaintiff’s number was

as cell phone number after it obtained if from LexisNexis, FAMS did not confirm if



                                              8
   Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 9 of 17 PageID #:259



Plaintiff’s cellular number belonged to the debtor in question before it barraged

Plaintiff’s voicemail with LiveVox calls and pre-recorded messages. Plaintiff testified that

when FAMS used VoApps to transmit a pre-recorded message in an effort to contact the

debtor, Plaintiff’s phone would “ring one” and a pop up would “ding” to alert Plaintiff

that he had a voice message from FAMS. Dkt. 50, Pl’s Class Cert. Motion, ¶¶6-17, 19-

22. The calls and voice messaged caused Plaintiff to suffer distress at work and with

regard to his wife owing money. Id.at ¶¶23-24.

      FAMS obtained the telephone numbers of thousands of persons via a skip-trace

service performed by Lexis-Nexis, and just like with Plaintiff, FAMS did not attempt to

confirm whether the telephone numbers obtained from Lexis-Nexis actually belonged to

the debtors. Instead, it was FAMS’s policy to call number obtained from LexisNexis until

a person answering the phone told FAMS he/she was not the person FAMS was trying

to reach. This approach is bizarre given FAMS’s admission that it skip-traced debtors

after FAMS essentially lost touch with the debtors. just like with Plaintiff, without

confirming identifies or obtaining consent, FAMS called thousands of skip-traced

(unconfirmed) cellular numbers. Finally, just like with Plaintiff, without having the

required consent, FAMS used VoApps’ technology to allegedly place pre-recorded

messages to be placed into the voicemail boxes of these cellular numbers in question.

FAMS’ conduct in skip tracing debtors and calling cellular telephone without confirming

whether the number obtained belong to the debt and transmitted pre-recorded

messages. See, e.g., Exhibit D, pp. p. 176, lines 6-25, 177, lines 1-13 (“But there was

no effort made to confirm that that number belonged to a particular debtor, because

you were utilizing Lexis's representation that a Tier 1 was a number that LexisNexis

associated with the debtor; correct? A. Correct.”); p. 179, lines 1-6 (“do you know why

as a representative of FAMS, that FAMS using LiveVox -- sorry -- VoApps to drop



                                             9
  Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 10 of 17 PageID #:259



prerecorded messages into the voicemail boxes of debtors without confirming that that

number belonged to a debtor? A. I don't know why.”); 182, lines 22-25, p. 183, lines 1-

25, p. 184, line 1 (FAMS’s corporate representative did not have a good understanding

of the differences between tier 1 and tier 2 numbers, and testified that FAMS did not

have a different approach to using VoApps in terms of contacting numbers that were

designated as Tier 1 versus Tier 2.).

      FAMS’s identified practices "raise common questions, . . . which would resolve

the claims in this case in one stroke." Toney v. Quality Res., Inc., 323 F.R.D. 567, 584

(N.D. Ill. 2018). Accordingly, this Court should hold that Plaintiff has satisfied Rule

23(a)(2)'s commonality requirement.

      C. Plaintiff’s Claims Are Typical of the Classes He Proposes to Represent

      The claims or defenses of the representative parties must be typical of the claims

or defenses of the whole class. FED. R. CIV. P. 23(a)(3). The test for typicality closely

resembles the commonality inquiry. Lucas v. GC Services L.P., 226 F.R.D. 337, 341 (N.D.

Ind. 2005). A "claim is typical if it arises from the same event or practice or course of

conduct that gives rise to the claims of other class members and his or her claims are

based on the same legal theory." De La Fuente v. Stokely-Van Camp, Inc., 713 F.2d 225,

232 (7th Cir. 1983) (citations and internal quotation omitted).

      As recently recognized by the court analyzing pre-recorded messages:

          Plaintiffs[‘] . . . claims are typical of the class members in that they all
          arise from the same course of conduct—namely, CWT's use of VVT to
          call class members and play audio recordings marketing the Grand
          Celebration Vacation Package during the Class Period. They also
          pursue their claims based on the same legal theory of being subjected
          to unwanted prerecorded voice messages.

Bakov v, 2019 U.S. Dist. LEXIS at *51. See also Braver, 2018 U.S. Dist. LEXIS 218813,

2018 WL 2929590, at 7 (finding typicality where the plaintiff and the class members'

claims "ar[o]se from the same operative allegation: that without express written consent,


                                             10
   Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 11 of 17 PageID #:259



a call was initiated, using a prerecorded voice, to [the plaintiff] and the class members'

residential telephone lines, in an effort to market . . . home security systems, in violation

of the TCPA").

       Typicality is satisfied for essentially the same reason commonality is satisfied –

FAMS’s conduct in obtaining Plaintiff’s cellular number from a skip trace search and

then calling this number without his consent and transmitting pre-recorded messages

– intended to be heard by someone else - is typical of FAMS’s policy and practices.

       D. Plaintiff and His Counsel Are Adequate

       A putative class representative must demonstrate that he/she can adequately

protect the interests of the class. See, Amchem Prods., Inc. v. Windsor, 521 U.S. 591,

625-29 (1997) (holding that class representatives must be part of the class, possess the

same interest, and have suffered the same injury). See also, FRCP 23(a)(4) which states

“the representative parties will fairly and adequately protect the interests of the class.”

       The adequacy of representation requirement set forth by Rule 23(a)(4) "mandates

that both the class representative and the counsel for the named plaintiff must be able

to zealously represent and advocate on behalf of the class as a whole." Lucas, 226 F.R.D.

at 341. As reflected in Paragraphs 28 through 46 of Plaintiff’s Motion to Certify, it is

clear that Plaintiff is an adequate, knowledgeable and zealous class representative.

       Similarly, class counsel must be "experienced and qualified and generally be able

to conduct the litigation." Lucas, 226 F.R.D. at 341. Proposed class counsel, James C.

Vlahakis was a former attorney of the nationally recognized consumer class action

defense firm of Hinshaw & Culbertson, LLP during the years 1998 to 2017. Mr. Vlahakis

is well qualified to litigate the present matter as class counsel:

          a. defended well over a hundred consumer-based claims;
          b. obtained court approval of multi-million-dollar TCPA based class
             action settlements in conjunction with class counsel. See, e.g.,In Re



                                             11
     Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 12 of 17 PageID #:259



               Capital One Telephone Consumer Protection Act Litigation, 12-cv-
               10064 (N.D. Ill.) ($75 million dollar TCPA based automated dialing
               system settlement); Prater v. Medicredit, Inc., 14-cv-0159 ($6.3
               million dollar TCPA based automated dialing system wrong party
               settlement); INSPE Associates v. CSL Biotherapries, Inc. 08-cv-0837
               (N.D. Ill.) ($3.5 million fax based settlement);
            c. gained court approval of a dozen FDCPA based class action
               settlements in conjunction with class counsel. See, e.g., Wood v.
               State Collection Service, Inc., 15-cv-0475 (S.D. Ind. 01/29/16); Long
               v. Fenton & McGarvey Law Firm, (S.D. Ind. 02/23/17);
            d. defeated TCPA class certification in Jamison v. First Credit Services,
               Inc., 290 F.R.D. 92 (N.D. Ill. Mar. 28, 2013), reconsideration denied,
               2013 U.S. Dist. LEXIS 105352 (N.D. Ill. July 29, 2013);
            e. decertified a TCPA class action in Pesce v. First Credit Services, Inc.,
               2012 U.S. Dist. LEXIS 188745 (N.D. Ill. June 6, 2012); and
            f. obtained favorable declaratory relief before the Federal
               Communication Commission (“FCC”) relative to a TCPA junk
               facsimile-based cause of action (see FCC’s Order of October 30,
               2014, FCC14-164, in CG Docket Nos. 02-278 and 05-338).

        Mr. Vlahakis was appointed to serve as a Steering Committee Member in the case

of In re: Apple Inc. Device Performance Litigation, 18-MD-02827 (N.D. Cal. 5/15/18). Mr.

Vlahakis represents approximately 24 class representatives in the proposed class action

related to Apple’s practice of “throttling” down the performance of older model iPhones.

V.      Plaintiff Satisfies the Elements of FRCP 23(b)(3)

        FRCP Rule 23(b)(3) requires that a putative class representative demonstrate that

common questions of law or fact “predominate over any questions affecting only

individual member” and demonstrate that a “a class action is superior” to other available

methods of adjudication. FED. R. CIV. P. 23(b)(3). Predominance “requires a qualitative

assessment . . . [and] ‘tests whether proposed classes are sufficiently cohesive to warrant

adjudication by representation.’” Butler v. Sears, Roebuck and Co., 727 F.3d 796, 801

(7th Cir. 2013)(quotation omitted). As noted above, common questions of law or fact

predominate because FAMS violated the TCPA by calling Plaintiff’s cellular phone and

ATDS and pre-recorded messages without his consent. Bakov provided a detailed



                                              12
   Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 13 of 17 PageID #:259



discussion of superiority where it certified a pre-recorded message TCPA case. Bakov,

2019 U.S. Dist. LEXIS 46510 at *62-*63 (citations omitted).

      As to the FDCPA claims, predominance is satisfied where the issue before the

court was whether the defendant's actions violated the FDCPA, not whether that

violations damaged the proposed class members. McMahon v. LVNV Funding, LLC, 807

F.3d 872, 875 (7th Cir. 2015). See also, Haroco, Inc. v. American Nat'l Bank & Trust Co.,

121 F.R.D. 664, 669 (N.D. Ill. 1988) (claims arising out of standard documents present

a "classic case for treatment as a   class action") (citation omitted). As discussed above

FAMS violated the FDCPA.

      In conclusion, superiority is satisfied.

VI.   The Proposed Classes Are Ascertainable Definable

      A proposed class should be "ascertainable," meaning that the class is clearly

defined, and its parameters is based on objective criteria. Mullins v. Direct Digital, LLC,

795 F.3d 654, 659 (7th Cir. 2015). A class is identifiable if the information necessary

to identify class members is available through a "ministerial review" rather than an

arduous individual inquiry. Sadler v. Midland Credit Mgt., Inc., 2008 U.S. Dist. LEXIS

51198, 2008 WL 2692274, *3 (N.D. Ill. July 3, 2008) “[I]t is not fatal for a class definition

to require some inquiry into individual records, so long as the inquiry is not 'so daunting

as to make the class definition insufficient.'" Id. (granting cert where potential manual

review to weed out false positives "might prove administratively burdensome, but a

review for such straightforward objective criteria nevertheless remains ministerial").

      A class action "complaint must contain three things: a statement of subject-

matter jurisdiction, a claim for relief, and a demand for a remedy." Chapman v. First

Index, Inc., 796 F.3d 783, 785 (7th Cir. 2015)). "Class definitions are not on that list.

Instead the obligation to define the class falls on the judge's shoulders under FED. R.



                                             13
    Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 14 of 17 PageID #:259



CIV. P. 23(c)(1)(B)." Id. (citing Kasalo v. Harris & Harris, Ltd., 656 F.3d 557, 563 (7th Cir.

2011)). “The judge may ask for the parties' help, but motions practice and a decision

under Rule 23 do not require the plaintiff to amend the complaint." Id.5

       The TCPA utilizes a four year statute of limitations. Having said that, FAM’s use

of VoApps does not cover a four year time period. Accordingly, Plaintiff proposes that a

pre-recorded voice message class be defined as follows:

           All persons with cellular telephone numbers with Illinois area codes
           where the numbers were obtained by FAMS utilizing Lexis-Nexis to skip
           trace the subject cellular numbers where FAMS or a vendor
           transmitted pre-recorded voicemails to these numbers, from February
           28, 2015, to FAMS’s last transmission of a pre-recorded message to
           cellular numbers.

       Additionally, Plaintiff proposes ATDS based TCPA class, defined as follows:

           All persons with cellular telephone numbers with Illinois area codes
           where the numbers were obtained by FAMS utilizing Lexis-Nexis to skip
           trace the subject cellular numbers where FAMS utilized LiveVox’s HCI
           phone system to call these numbers, from February 28, 2015, to
           FAMS’s last transmission of a pre-recorded message to cellular
           numbers.

       FAMS should not be allowed to avoid certification or quibble the definition by

arguing that somewhere in its vast and disorganized records cellular number that it

obtained from a skip trace already existed. Such an argument would amount to a “get

out of jail free card” by allowing FAMS to cobble together a consent defense where it had

previously determined that it did not have a viable number for a debtor, and that a skip

trace was needed to locate the debtor’s telephone number. FAMS’s corporate

representative testified that its records and records of third-parties could be minsterially



5
  Putative class plaintiffs are not required to amend their Complaint prior to filing for class
certification to delineate the exact contours of their class. See Griffith v. ContextMedia, Inc., 2018
U.S. Dist. LEXIS 5436, 2018 WL 372147, at *2 (N.D. Ill. Jan. 11, 2018) ("[T]he law of this circuit
does not mandate denial of certification on the principle that plaintiff must stick to the definition
proposed in her complaint."). A court can consider "modifications" to the proposed class "at any
time prior to final judgment." Chapman v. Wagener Equities, Inc., 2012 U.S. Dist. LEXIS 176857,
2012 WL 6214597, at *5-6 (N.D. Ill. Dec. 13, 2012).


                                                 14
    Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 15 of 17 PageID #:259



searched to ascertain wrong number reports relative to skip traced individuals who

received voice-drops.6

       The FDCPA classes are subject to a one-year statute of limitations and the

following class definition applies to FAMS’s unlawful transmission of pre-recorded

messages without consent (and where the messages did not list FAMS’s full legal name):

           All persons with cellular telephone numbers with Illinois area codes
           where the numbers were obtained by FAMS utilizing Lexis-Nexis to skip
           trace the subject cellular numbers where FAMS or a vendor
           transmitted pre-recorded voicemails to these numbers, from February
           28, 2017, to FAMS’s last transmission of a pre-recorded message to
           cellular numbers.

       An ATDS based FDCPA class is defined as follows:

           All persons with cellular telephone numbers with Illinois area codes
           where the numbers were obtained by FAMS utilizing Lexis-Nexis to skip
           trace the subject cellular numbers where FAMS utilized LiveVox’s HCI
           phone system to call these numbers, from February 28, 2017, to
           FAMS’s last LiveVox based calls to these cellular numbers.

       As to Plaintiff’s FDCPA based-class claims, FAMS cannot demand that Plaintiff

demonstrate that every single person called had to be called related to a consumer debt.

Wilkerson v. Bowman, 200 F.R.D. 605, 609 (N.D. Ill. 2001). 7 FAMS would be hard

pressed to make this argument given the fact that collects on defaulted student loans.

In summary, this class action is the superior method for fair and efficient adjudication

of this controversy even if additional ministerial inquiries are found to be necessary.8


6
  See FAMS’ 30(b)(6) deposition, attached as Exhibit D, pp. 135, p. 15 to p.146, line 3; 161, lines
20-25, p. 162, p. 163, p. 164, lines 1-18; 166, lines 22-25, p. 167, lines 1-7; p. 176, lines 6-25,
177, lines 1-13; 182, lines 22-25, p. 183, lines 1-25, p. 184, line 1; p. 217, line 1-25, p. 218,
lines 1-19, 23; p. 219, lines 13-25; p. 221, lines 15-25, p. 222, lines 11-20; p. 223, lines 3-19;
p. 224, lines 2-19; p. 225, lines 6-25; p. 226, lines 19-25, p. 227, lines 1-5.; 229, lines 20-24, p.
230, lines 3-13; p. 230, lines 14,-25, p. 231, lines 1-12.
7
 See also Miller v. McCalla, Raymer, Padrick, Cobb, Nichols & Clark, L.L.C., 198 F.R.D. 503, 506
(N.D. Ill. 2001) ("If the need to show whether each loan transaction was a consumer rather than
a commercial one barred a class action, there could be no FDCPA class actions, because only
consumer loans come under FDCPA.").
8
  Rule 23(c)(1)(C) allows a court to alter or amend an order that grants class certification before
final judgment. Alliance to End Repression v Rockford, 565 F.2d 975, 977 (7th Cir. 1977) (stating


                                                 15
   Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 16 of 17 PageID #:259



       WHEREFORE, for the reasons set forth above, Plaintiff requests that this Court

enter an order: (a) certifying the proposed classes; (b) appointing the Plaintiff as Class

Representative; (c) appointing James C. Vlahakis as Class Counsel; and (d) for such

other and further relief as the Court may deem appropriate.


                                                /s/ James C. Vlahakis
                                                James C. Vlahakis
                                                2500 S. Highland Avenue, Suite 200
                                                Lombard, IL 60148
                                                Phone No.: 630-581-5456
                                                Fax No.: 630-575-8188
                                                jvlahakis@sulaimanlaw.com

                                                Attorney for Plaintiff Richard Molinari and the
                                                proposed class members




that the district court "has the power at any time before final judgment to revoke or alter class
certification if it appears that the suit cannot proceed consistent with Rule 23's requirements").



                                               16
  Case: 1:18-cv-01526 Document #: 52 Filed: 10/09/19 Page 17 of 17 PageID #:259



                   CERTIFICATE OF SERVICE

      I, James C. Vlahakis, certify that on October 9, 2019, I caused to be filed the

above referenced document via the district’s ECF system, which shall serve a file

stamped copy of this document on all counsel of record.



/s/ James C. Vlahakis




                                         17
